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UNITED sTATES DISTRICT COURT V'""~'i`-"-'*l`f' ~`1’ 774/`\
WESTERN DIsTRICT oF TENNESSEE
Western Division
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UNITED STATES OF AMERICA

-v- Case No. 2:05cr20039-2-Ml '/
Case No. 2:05cr20143-1-Ml
BRYANT EDWARDS

 

ORDER SETT|NG
COND|TIONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

( l) The defendant shaII not commit any offense in violation of federal, state or local law while on release in this
case.
(2) The defendant shall immediately advise the court, Pretrial Services Office, Probation Office, defense counsel

and the U,S. Attorney in Writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed. ”[lie defendant shall next appear as directed by the Court.

ADD|T|ONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

0 The defendant is released on personal recognizance
Secured Financial Conditions
0 report as directed by the Pretria| Services Office.

0 Other: Defendant shall abide by all conditions of bond release previously imposed..

ADV|CE OF PENALT|ES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADVlSED OF THE FOLLOW|NG PENALT|ES AND SANCTIONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a tenn of imprisonment, a fine, or both.

This document entered on the docket sheet in compliance

AO 199A OrderSetting Conditions ofRelease '1' W|th Hu|e 55 and/m- 32(£)) FHCFP on v q‘ 0

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The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of impiisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
infonnant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than $250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;

(4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. In addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

I acknowledge that l am the defendant in this case and that I am aware of the conditions of release. I promise
to obey all conditions ofrelease, to appear as directed, and to surrender for service of any sentence imposed lam aware
of the penalties and sanctions set forth above.

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Signature of Defendant'

BRYANT EDWARDS
4688 MARCEL AVENUE
MEMPHIS, TN 38122
901-603-4960 (father’s cell)

DlRECT|ONS TO THE UN|TED STATES MARSHAL

i§) The defendant is ORDERED released after processing
The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
J udicial Ofticer that the defendant has posted bond and/or complied with all other conditions for release. The

defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

Dare: June 24,2005 /L-/\,l

"' J TU M. PHAM
UNITED s'rATEs MAGisrRATE JUDGE

AO 199)°\ Order Settlng Conditions of Re|ease -2-

 

Notice of Distribution

This notice confirms a copy cf the document docketed as number 39 in
case 2:05-CR-20039 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listcd.

ENNESSEE

 

Leonard E. Lucas

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Honorable J on McCalla
US DISTRICT COURT

